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Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 812 PLAN & DISCLOSURE STATEMENT
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
02/16/07 — Kerry E. Carlson Research docket of appeals (.1); review 1.00 190.00

designation of record of appeal (.2); review
BAP docket and record for subsequent
delivery to district court (.1); record
consolidated appeals (.1); and prepare
timeline (.5).
02/21/07 — Kerry E. Carlson Update USA Commercial appeal docket 0.40 76.00
(.2); pull opening brief and forward to N.
Peterman (.1); docket briefing schedule

(.1).
Total Hours: 1.40
Total Amount: $ 266.00
TIMEKEEPER SUMMARY FOR ACTION CODE 812,
PLAN & DISCLOSURE STATEMENT
Timekeeper Name Hours Billed Rate Total $ Amount
Kerry E. Carlson 1.40 190.00 266.00

Totals: 1.40 190.00 $ 266.00
Case 06-10725-gwz

Invoice No.:
Matter No.:

1868891
083230.012700

Description of Professional Services Rendered

ACTION CODE: 813
DATE TIMEKEEPER
02/01/07 Kerry E. Carlson

02/01/07

02/01/07

02/05/07

02/05/07

02/12/07
02/13/07
02/15/07
02/15/07

02/16/07

02/16/07

02/27/07

02/28/07

Nancy A. Peterman

Collin B. Williams

Kerry E. Carlson

Nancy A. Peterman

Nancy A. Peterman
Nancy A. Peterman
Nancy A. Peterman
Nancy A. Peterman

Kerry E. Carlson

Nancy A. Peterman

Nancy A. Peterman

Nancy A. Peterman

FEE/EMPLOYMENT APPLICATIONS

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AMOUNT

DESCRIPTION HOURS

Research all pleadings related to retention 1.80
and forward to C. Williams (.3); review all

documents for provision relating to

requests for attorney fees (1.5).

Prepare for and meet with UST re fee 10.50
issues (3.0); meet with MFIM

representatives before and after meeting

(7.5).

Research regarding allowance of financial 4.00
advisor's attorneys’ fees from debtor's estate

(2.0); prepare memo regarding allowance

of advisor's attorneys' fees from estate

property (2.0).

Review docket to determine status of order 0.30
continuing interim retention of Mesirow

(.2); forward update to N. Peterman (.1).

Prepare for and participate in call with S. 1.40
Smith re fee issues (.6); review draft fee

summary (.8).

Review fee chart to be sent to UST. 0.20
Follow-up on fee issues with UST. 0.50
Prepare email to UST re fee issues. 0.50
Review new retention order for Debtors’ 0.30
professionals.

Research and review administrative order 1.00
and stipulated amendments establishing

interim compensation procedures (.5);

review deadlines (.2); discuss same with N.

Peterman (.3).

Prepare emails to S. Smith re MFIM fees 0.50
(.1); review fee procedures order (.1);

telephone conference with A. Landis re

MFIM fees (.2); review email from A.

Landis re same (.1).

Telephone conference with S. Darr re 0.70
success fee, GT attorney fee reimbursement

and other issues (.6); prepare email to S.

Darr re same (.1).

Review GT bills to determine MFIM's 0.50
ability to seek reimbursement under
caselaw (.5)

342.00

6,090.00

1,280.00

57.00

812.00

116.00
290.00
290.00
174.00

190.00

290.00

406.00

290.00

Total Hours: 22.20

Total Amount:

$ 10,627.00
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Description of Professional Services Rendered

TIMEKEEPER SUMMARY FOR ACTION CODE 813

FEE/EMPLOYMENT APPLICATIONS

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Page 4

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 15.10 580.00 8,758.00
Collin B. Williams 4.00 320.00 1,280.00
Kerry E. Carlson 3.10 190.00 589.00

Totals: 22.20 478.69 $ 10,627.00
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083230.012700

Description of Professional Services Rendered

ACTION CODE: 838

DATE TIMEKEEPER
02/12/07 Nancy A. Peterman
02/12/07 Nancy A. Peterman
02/13/07 = Nancy A. Peterman
02/13/07 David W. Schoenberg
02/14/07 ~=Nancy A. Peterman
02/14/07 = Daniel B. Warshawsky
02/15/07 ~=Nancy A. Peterman
02/15/07 = Nancy A. Peterman
02/16/07 Nancy A. Peterman

SALE OF PROPERTY

DESCRIPTION

Review and revise license agreement.
Telephone conference with S. Strong re
licensing issues (1.0); review various
information re licenses (1.0); review and
respond to emails from MFIM and the
Debtor re licensing issues (1.0).

Telephone conference with G. Rudolph re
license issues (.4); review and comment on
various drafts of the subservicing
agreement (1.2); review mortgage licensing
statutes (.5); telephone conference with S.
Strong re transaction structure with
Compass/subservicing agreement (.2);
telephone conference with J. Atkinson re
mortgage license issues (.2); exchange
numerous emails with MFIM and Debtor's
counsel re license issues (.7).

Review and revise licensing agreement (.4);
telephone calls with Nancy Peterman re
same (.1).

Telephone conference with D. Warshawsky
re mortgage licensing issues (1.0);
exchange emails with D. Warshawsky, S.
Strong and MFIM re additional licensing
issues and related issues, including
insurance (1.0); several telephone
conferences and emails with S. Darr re
same (1.5).

Review subservicer arrangement for
regulatory issues (.8); prepare comments to
subservicer agreement (1.0).

Review draft budget for post-closing costs.
Several telephone conferences with S.
Strong, J. Atkinson and S. Darr re
subservicing agreement, post-effective date
structure (1.0); several telephone
conferences with J. Atkinson re sale closing
and related matters (.8); revise
subservicing agreement (.4); exchange
emails with Mesirow Insurance re D&O
issues (.5); telephone conference with S.
Strong re sale closing and subservicing
agreement (.5).

Review revised subservicing agreements
(1.0); exchange emails with S. Smith and S.
Strong re same (.2); telephone conference

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HOURS AMOUNT
0.10 58.00
3.00 1,740.00
3.20 1,856.00
0.50 297.50
3.50 2,030.00
1.80 441.00
0.30 174.00
3.20 1,856.00
1.40 812.00
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Matter No.: 083230.012700
Description of Professional Services Rendered
with S. Darr re same (.2).
02/21/07 + Nancy A. Peterman Review and comment on draft press release 0.40 232.00
re Compass sale.
02/22/07 = Nancy A. Peterman Telephone conference with Compass 1.30 754.00
attorney re insurance issue (.5); prepare
email to MFIM re same (.5); review revised
press release re Compass transaction (.3).
02/23/07 Nancy A. Peterman Review final version of press release (.3); 1.40 812.00
review and analysis of D&O insurance
policy (.6); prepare email to C. Gossel and
S. Darr re same (.5).
Total Hours: 20.10
Total Amount: $ 11,062.50
TIMEKEEPER SUMMARY FOR ACTION CODE 838,
SALE OF PROPERTY
Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 17.80 580.00 10,324.00
Daniel B. Warshawsky 1.80 245.00 441.00
David W. Schoenberg 0.50 595.00 297.50
Totals: 20.10 550.37 $ 11,062.50
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Matter No.: 083230.012700

Description of Professional Services Rendered

ACTION CODE: 922 TRAVEL
DATE TIMEKEEPER DESCRIPTION HOURS AMOUNT
02/01/07 ~=Nancy A. Peterman Travel to and from Las Vegas for meeting 4.00 2,320.00

(4.0).

Total Hours: 4.00
Total Amount: $ 2,320.00
TIMEKEEPER SUMMARY FOR ACTION CODE 922
TRAVEL

Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 4.00 580.00 2,320.00

Totals: 4.00 580.00 $ 2,320.00
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Description of Professional Services Rendered

TIMEKEEPER ACTIVITY GRAND TOTAL SUMMARY

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Timekeeper Name Hours Billed Rate Total $ Amount
Nancy A. Peterman 41.40 580.00 24,012.00
Daniel B. Warshawsky 1.80 245.00 441.00
Collin B. Williams 4.00 320.00 1,280.00
David W. Schoenberg 0.50 595.00 297.50
Kerry E. Carlson 4.50 190.00 855.00

Totals: 52.20 515.05 $ 26,885.50
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Invoice No.:

Re:

Matter No.:

1868891
USA Commercial Mortgage Company
083230.012700

Description of Expenses Billed:

DATE

01/31/07
01/31/07

01/31/07

02/01/07
02/13/07
02/16/07

DESCRIPTION

LiveEdgar Research Charges for January 2007. Re: Mesirow USA Capital
VENDOR: AirPlus International Inc INVOICE#: Z200007042 DATE:
2/12/2007 Tkt. No. 01 67812837831 - Peterman/Nancy A Air/Rail Travel
on 02/01/2007: ORD LAS ORD

VENDOR: AirPlus International Inc INVOICE#: Z200007042 DATE:
2/12/2007 Tkt. No. 89 08139978328 - Peterman/Nancy A Travel agency
service fee

Westlaw Research by WILLIAMS,COLLIN B.

Westlaw Research by OSTROW,ETHAN.

VENDOR: Base Limousine Service; INVOICE#: 8131; DATE: 2/16/2007
- Acct: GILAW, Limousine Services from 2/1/07 to 2/15/07

Total Expenses:

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AMOUNT

$ 52.12
$ 475.00
$ 29.00
$ 156.31
$ 18.66
$ 237.00
$ 968.09
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Invoice No.:
Matter No.:

1858669
083230.012700

Description of Professional Services Rendered:

ACTION CODE: 804

DATE

03/01/07

03/01/07

03/05/07

03/06/07

03/06/07
03/07/07

03/07/07
03/07/07

03/08/07
03/08/07
03/09/07
03/12/07

03/12/07

TIMEKEEPER

Nancy A. Peterman

Elisa Rodriguez

Nancy A. Peterman

Carla Greenberg

Nancy A. Peterman
Kerry E. Carlson

Nancy A. Peterman
Elisa Rodriguez

Nancy A. Peterman
Elisa Rodriguez
Elisa Rodriguez
Carla Greenberg

Nancy A. Peterman

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Page 1
CASE ADMINISTRATION
DESCRIPTION HOURS AMOUNT
Telephone conference with C. Goesel re 0.40 232.00
D&O insurance (.2); several telephone
conferences with S. Darr re same and fee
issues (.2).
Monitor case docket and distribute recently 1.20 120.00
filed pleadings.
Review and comment on fee 1.80 1,044.00
enhancement/success fee research memo
(1.0); conference with C. Williams re same
(.1); telephone conference with C. Goesel
re insurance issues (.2); telephone
conference with Compass’ counsel re same
(.2); prepare email to client re same (.2);
review recent pleadings (.1).
Monitor case docket and distribute recently 0.20 20.00
filed pleadings.
Review recent pleadings. 0.40 232.00
Check status of appeal (.1); forward 0.20 38.00
appellee's opening brief (.1).
Review recent pleadings. 0.80 464.00
Monitor case docket and distribute recently 0.30 30.00
filed pleadings.
Participate in conference call with client re 0.60 348.00
licensing issues/control of funds issues.
Monitor case docket and distribute recently 0.30 30.00
filed pleadings.
Monitor case docket and distribute recently 0.30 30.00
filed pleadings.
Monitor case docket and distribute recently 0.20 20.00
filed pleadings.
Review and analysis of recent pleadings. 0.30 174.00
Total Hours: 7.00
Total Amount: $ 2,782.00
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Matter No.: 083230.012700

Description of Professional Services Rendered

TIMEKEEPER SUMMARY FOR ACTION CODE 804,

CASE ADMINISTRATION

Timekeeper Name Hours Billed Rate Total $ Amount

Nancy A. Peterman 4.30 580.00 2,494.00

Kerry E. Carlson 0.20 190.00 38.00

Carla Greenberg 0.40 100.00 40.00

Elisa Rodriguez 2.10 100.00 210.00
Totals: 7.00 397.43 2,782.00
